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                           INDEX TO EXIBITS

 EXHIBIT 1         Defendant’s May 26, 2023 Statements of Relevant
                   Facts

 EXHIBIT 2         Plaintiffs’ June 9, 2023 Responses to Defendant’s
                   Statements of Facts

 EXHIBIT 3         The Redated Deposition Transcript of Plaintiff
                   Terry Pemberton dated July 3, 2023

 EXHIBIT 4         The Redated Deposition Transcript of Plaintiff
                   Keith Brown dated July 3, 2023

 EXHIBIT 5         The Redated Deposition Transcript of Plaintiff
                   David Sujkowski dated July 6, 2023

 EXHIBIT 6         Plaintiffs’ July 27, 2023 3rd Supplemental Initial
                   Disclosures with Exhibit A

 EXHIBIT 7         Excerpts from John Aniol Handheld check in-check
                   out times

 EXHIBIT 8         Excerpts from Kevin Phipps Handheld check in-
                   check out times
